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                                 #:170426



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  12   San Diego, CA 92130                      Los Angeles, CA 90067
       Phone: (858) 707-4000                    Phone: (310) 551-3450
  13   Fax: (858) 707-4001                      Fax: (310) 551-3458
  14   Attorneys for Plaintiffs,
       MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
  15
                      IN THE UNITED STATES DISTRICT COURT
  16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
  17
       MASIMO CORPORATION, a                   ) Case No. 8:20-cv-00048-JVS-JDE
  18   Delaware corporation; and               )
       CERCACOR LABORATORIES,                  ) DECLARATION OF BRIAN
  19   INC., a Delaware corporation            ) CLAASEN IN SUPPORT OF
                                               ) PLAINTIFFS’ MOTION FOR A
  20                  Plaintiffs,              ) PROTECTIVE ORDER
                                               ) PRECLUDING DEFENDANT
  21           v.                              ) FROM DISCLOSING PLAINTIFFS’
                                               ) CONFIDENTIAL MATERIALS TO
  22   APPLE INC., a California corporation    ) DR. PATRICK MERCIER
                                               )
  23                  Defendant.               )
                                               ) Discovery Cutoff: 7/15/2024
  24                                           ) Pre-Trial Conf.:   10/28/2024
                                               ) Trial:             11/05/2024
  25                                           )
                                               ) Judge: Judge James V. Selna
  26                                           )
  27

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Case 8:20-cv-00048-JVS-JDE Document 1991-1 Filed 07/02/24 Page 2 of 14 Page ID
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   1         I, Brian Claasen, hereby declare as follows:
   2         1.     I am a partner in the law firm Knobbe, Martens, Olson & Bear, LLP,
   3   counsel for Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
   4   (collectively, “Masimo”) in this action. I have personal knowledge of the matters
   5   set forth in this declaration and, if called upon as a witness, would testify
   6   competently thereto. I submit this Declaration in Support of Plaintiffs’ Motion
   7   for a Protective Order Precluding Defendant from Disclosing Plaintiffs’
   8   Confidential Materials to Defendant’s Proposed Expert, Dr. Patrick Mercier (the
   9   “Motion”).
  10         2.     As requested by the Court during the July 1, 2024 hearing, my
  11   partner, Jared Bunker, met and conferred with counsel of record for Apple
  12   regarding Dr. Mercier and the Motion. The conference took place on July 2, 2024.
  13   The substance of the parties’ conference is reflected in the email chain described
  14   below and attached hereto.
  15         3.     Attached hereto as Exhibit K is a true and correct copy of an email
  16   chain between Nora Passamaneck and Sarah Frazier, counsel of record for Apple,
  17   and Mr. Bunker, counsel for Masimo, dated June 12 through July 2, 2024.
  18         I declare under the penalty of perjury that the foregoing is true and correct.
  19   Executed on July 2, 2024, at Irvine, California.
  20

  21
                                             /Brian Claassen
                                            Brian Claassen
  22

  23

  24

  25

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                        EXHIBIT K
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                                 #:170429

     From:                 Jared Bunker
     To:                   Passamaneck, Nora Q.E.
     Subject:              RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier
     Date:                 Tuesday, July 2, 2024 3:01:00 PM


     I can call you in about 10 minutes.

     Jared Bunker
     Partner
     949-721-2957 Direct
     Knobbe Martens

     From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
     Sent: Tuesday, July 2, 2024 2:58 PM
     To: Jared Bunker <Jared.Bunker@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

     Jared,
     One of my meetings ended early, and I am free until 4:30 MT. If you would like to discuss
     before then, please feel free to give me a call. Otherwise, we can talk at 5.
     Thanks,
     Nora

     From: Jared Bunker <Jared.Bunker@knobbe.com>
     Sent: Tuesday, July 2, 2024 3:03 PM
     To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
     Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
     <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
     MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

     EXTERNAL SENDER


     Yes, I can be available at 4pm PT/5pm MT.

     Jared Bunker
     Partner
     949-721-2957 Direct
     Knobbe Martens

     From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
     Sent: Tuesday, July 2, 2024 2:00 PM
     To: Jared Bunker <Jared.Bunker@knobbe.com>
     Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
     <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
     MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier


                                                                                         Exhibit K
                                                                                              -2 -
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                                 #:170430


    Hi Jared,

    I have a conflict at 3 MT, but can be available at 5 MT. Please let me know if you are
    available and if we can use the call-in below.

    Thanks,
    Nora


    From: Jared Bunker <Jared.Bunker@knobbe.com>
    Sent: Tuesday, July 2, 2024 2:44 PM
    To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
    <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

    EXTERNAL SENDER


    Nora,

    Apple does not deny that Dr. Mercier is involved in the development of sensor systems to
    monitor heart rate, hydration levels, blood sugar, and more. We disagree with Apple’s
    position that the Center’s work is not commercial or competitive. Dr. Mercier acknowledges
    that industry partners direct at least some of the Center’s work. And the Center’s industry
    partners include some of Masimo’s competitors. The assertion that “donations come with
    no strings attached and no relationship to specific industry products or applications” is
    belied by the Center’s marketing materials that acknowledge specific benefits to industry
    partners, including “fast-track research agreements,” “embed[ing] a visiting industry fellow
    in [the Center’s] labs,” “industry-faculty-student research teams,” and “access to
    commercialization engine with lab-to-market focus.” Loebbaka Decl, Ex. B. That multiple
    industry partners or competitors may access the Center’s work only heightens the risk and
    harm. Again, as we explained in our brief, at the least, Dr. Mercier’s work at the Center (and
    NeuroVigil) presents an unreasonable risk of misuse and inadvertent disclosure.

    I’m available to discuss at 2pm PT/3pm MT. We can use the following Teams link:

    Join the meeting now
    Meeting ID: 285 513 237 935
    Passcode: m4iHpx

    -Jared

    Jared Bunker
    Partner
    949-721-2957 Direct
    Knobbe Martens


                                                                                             Exhibit K
                                                                                                  -3 -
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                                 #:170431


    From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Sent: Tuesday, July 2, 2024 12:00 PM
    To: Jared Bunker <Jared.Bunker@knobbe.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
    <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

    Jared,

    The sensor systems referenced in the Center’s website are not commercial products.
    Rather, the Center is an academic, research-focused organization that is not a commercial
    enterprise.   The Center’s website refers to “industry partners,” and Professor Mercier
    informs us that this phrase “simply refers to a company that donates to the Center.” He
    explained to us that “[t]hese donations come with no strings attached and no relationship to
    specific industry products or applications.” Further, “no one company controls any
    particular research project” at the Center. Instead, “Center faculty submit academic
    research proposals to the Center, and industry partners collectively vote on which
    proposals will receive funding.”   “Research proposals may be to fulfill either (1) industry
    challenge projects that the industry partners propose, or (2) open innovation projects that
    faculty propose. By proposing an industry challenge project, an industry partner does not
    get early access to the Center’s research as compared to any other partner, and Center
    faculty have full freedom to publish their Center-funded research. As a result, industry
    challenge projects are general in nature given that a company’s competitors will have
    access to the research, whether as a Center partner or when the results are published.” To
    be clear, the Center does not develop any specific commercial products or applications,
    industry partners do not suggest research beyond suggesting general industry challenge
    projects, and the Center and its faculty are able to publish the results of all research
    conducted at the Center.

    I trust that this information addresses Plaintiffs’ concerns about Dr. Mercier’s work with the
    Center. If not, please let us know before 3 pm PST what issues are still outstanding and
    provide whatever case law you are aware of to support Masimo’s position that all academic
    institutions working on “sensor systems to monitor heart rate, hydration levels, blood sugar
    and more” are competitors of Plaintiffs.

    Regards,
    Nora

    From: Jared Bunker <Jared.Bunker@knobbe.com>
    Sent: Tuesday, July 2, 2024 11:20 AM
    To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
    <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier




                                                                                             Exhibit K
                                                                                                  -4 -
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    EXTERNAL SENDER


    Nora,

    I understand Judge Selna asked the parties to confer and report back to him about a point
    of dispute regarding Dr. Mercier before he potentially decides the issue tomorrow. In
    particular, Masimo’s counsel pointed out to the Court that the Center’s website states that
    the Center’s “Researchers are developing . . . sensor systems [to] monitor heart rate,
    hydration levels, blood sugar and more.” Loebbaka Decl., Ex. F. Please explain Apple’s
    position on how Dr. Mercier, as Director of the Center, is not and will not be involved in the
    development of such parameters. And if Apple believes that statement is inaccurate, please
    explain, and explain why it is included on the Center’s website.

    Please let me know when you are available today to discuss this issue.

    Sincerely,
    Jared

    Jared Bunker
    Partner
    949-721-2957 Direct
    Knobbe Martens

    From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Sent: Sunday, June 30, 2024 6:34 AM
    To: Jared Bunker <Jared.Bunker@knobbe.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
    <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

    Jared,

    Thank you for providing the joint stipulation. The only edits we have are to the first page to
    recite Judge Selna instead of Judge Early, and also to delete reference to the proposed
    order given that it is Masimo’s proposed order and that will allow the caption to be all on
    one page. With these edits, you may use electronically sign my name.

    Sincerely,
    Nora


    From: Jared Bunker <Jared.Bunker@knobbe.com>
    Sent: Saturday, June 29, 2024 8:51 PM
    To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
    <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-



                                                                                             Exhibit K
                                                                                                  -5 -
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     MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

     EXTERNAL SENDER


     Nora,

     We added a Table of Contents. May we electronically sign your name or someone else’s
     from your team?

     We will have our team file this tomorrow afternoon.

     Sincerely,
     Jared

     Jared Bunker
     Partner
     949-721-2957 Direct
     Knobbe Martens

     From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
     Sent: Friday, June 28, 2024 10:18 PM
     To: Jared Bunker <Jared.Bunker@knobbe.com>
     Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
     <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
     MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

     Jared,

     Attached please find Apple’s portions of the joint stipulation. We have provided Apple’s
     portion ahead of the deadline so that the motion may be filed before Monday’s hearing to
     allow Judge Selna an opportunity to address then, should he wish. Please confirm that
     Plaintiffs agree to file tomorrow. If not, we will raise with Judge Selna tomorrow.

     Thank you,
     Nora


     From: Jared Bunker <Jared.Bunker@knobbe.com>
     Sent: Thursday, June 27, 2024 5:49 PM
     To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
     Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
     <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
     MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier



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    EXTERNAL SENDER


    Nora,

    Plaintiffs’ portions of the joint stipulation are attached.

    Sincerely,
    Jared

    Jared Bunker
    Partner
    949-721-2957 Direct
    Knobbe Martens

    From: Jared Bunker <Jared.Bunker@knobbe.com>
    Sent: Friday, June 21, 2024 9:09 PM
    To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; Frazier, Sarah
    <Sarah.Frazier@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

    Nora,

    We disagree on the merits for the reasons we’ve discussed. Regarding the timeline, we
    note that the CAFC affirmed the PTAB’s decision on the two Asserted Patents five months
    ago in January, and the Court lifted the stay two months ago in April. Yet Apple waited until
    June to disclose Dr. Mercier. Plaintiffs nevertheless promptly provided their objection earlier
    than required under the PO. Any alleged timing challenge that Apple faces is its own doing
    – not Plaintiffs’.

    We are working diligently on our portion of a joint stipulation and will provide it to Apple as
    soon as possible.

    Sincerely,
    Jared

    Jared Bunker
    Partner
    949-721-2957 Direct
    Knobbe Martens

    From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
    Sent: Friday, June 21, 2024 3:20 PM
    To: Jared Bunker <Jared.Bunker@knobbe.com>; Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier


                                                                                               Exhibit K
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     Jared,

     Thank you for explaining Plaintiffs’ position on today’s meet and confer regarding Apple’s disclosure
     of Dr. Mercier. We disagree that his work at the Center for Wearable Sensors or as a member of the
     Scientific Advisory Board of NeuroVigil disqualifies him as an expert. Dr. Mercier is not an “officer,
     director, or employee” or NeuroVigil, and the Center for Wearable Sensors does not compete with
     Masimo. Nor have you explained how his work at the Center otherwise disqualifies him. Given that
     the deadline for expert reports is fast approaching, this matter must be resolved immediately. We
     expect that Plaintiffs will file any objection no later than Monday. We further put Masimo on notice
     that Apple intends to raise this issue with Judge Selna at the hearing, and that Apple will ask for the
     deadline for expert reports to be extended by the period of time needed to resolve Masimo’s
     objection.

     Thank you,
     Nora



     From: Jared Bunker <Jared.Bunker@knobbe.com>
     Sent: Thursday, June 20, 2024 11:42 PM
     To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>; Frazier, Sarah
     <Sarah.Frazier@wilmerhale.com>
     Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
     MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
     Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

      EXTERNAL SENDER


     Nora,

     Let’s talk tomorrow at 11am PDT. We can use the following Teams link:

     Join the meeting now
     Meeting ID: 276 223 125 297
     Passcode: vn9JXE

     Sincerely,
     Jared

     Jared Bunker
     Partner
     949-721-2957 Direct
     Knobbe Martens

     From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
     Sent: Thursday, June 20, 2024 4:41 PM


                                                                                                     Exhibit K
                                                                                                          -8 -
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    To: Jared Bunker <Jared.Bunker@knobbe.com>; Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

    Jared,

    We disagree that Dr. Mercier’s work at the Center for Wearable Sensors or as a member of
    the scientific advisory board for NeuroVigil is a basis for objection. The Center for
    Wearable Sensors is a part of UC San Diego that includes 25 faculty; only Dr. Mercier’s
    work is relevant, not that of the entire Center. As a result, your request that Apple “identify
    and describe each physiological parameter for which the Center is currently developing or
    researching monitoring technology, as well as each physiological parameter for which the
    Center plans to develop or research monitoring technology in the future, either on its own or
    in collaboration with an ‘industry partner’” is overbroad and appears to be nothing more
    than a fishing expedition. As to NeuroVigil and its “brain monitoring technology” that
    allegedly competes with Masimo, no such technology is at issue here. Moreover, Masimo’s
    patents are public and Masimo itself asserts that it has been incorporating the alleged
    inventions in their products since 2002. Masimo’s products in development are not at
    issue, much less part of discovery in this action. In any event, we confirm that Dr. Mercier’s
    work with NeuroVigil does not relate to PPG technologies and further that none of his
    current work at the Center involving other “industry partners” involves optical sensing
    technologies.

    We are available to meet and confer tomorrow between 11-1 and 3-5 PST. Please let us
    know a time and circulate a dial-in if you would still like to confer.

    Thank you,
    Nora

    From: Jared Bunker <Jared.Bunker@knobbe.com>
    Sent: Wednesday, June 19, 2024 12:02 PM
    To: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>; Masimo.Apple <Masimo.Apple@knobbe.com>
    Subject: RE: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

     EXTERNAL SENDER


    Sarah,

    Pursuant to Section 9.2(c) of the PO, Plaintiffs object to Apple’s proposed disclosure of
    Plaintiffs’ designated material to Dr. Mercier. Based on our initial review (our review is
    continuing), at least through his work with the Center for Wearable Sensors (“the Center”),
    Dr. Mercier appears to be involved in developing non-invasive physiological monitoring
    technology that competes with Plaintiffs. For example, some of the promotional material on
    the Center’s website indicates that the Center has developed or is developing glucose
    monitoring technology on its own or with “industry partners.” The Center’s website also


                                                                                             Exhibit K
                                                                                                  -9 -
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    indicates that it is working with industry partners on sensors that rely on
    “electrophysiological modalities.” The Center’s website also identifies low-power sensors as
    one of the areas in which it works with its industry partners.

    Moreover, NeuroVigil appears to be involved in developing brain monitoring technology that
    competes with Plaintiffs.

    Pursuant to the PO, we request that Apple provide additional information regarding Dr.
    Mercier’s work. In particular, please identify and describe each physiological parameter for
    which the Center is currently developing or researching monitoring technology, as well as
    each physiological parameter for which the Center plans to develop or research monitoring
    technology in the future, either on its own or in collaboration with an “industry partner.”
     Please further explain the Center’s work developing and researching low-power systems,
    as well as the current and planned applications for NeuroVigil’s brain monitoring
    technology.

    Finally, please let us know your availability to meet and confer on Plaintiffs’ objection to Dr.
    Mercier today or sometime this week.

    Sincerely,
    Jared


    Jared Bunker
    Partner
    949-721-2957 Direct
    Knobbe Martens

    From: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
    Sent: Wednesday, June 12, 2024 2:53 PM
    To: Masimo.Apple <Masimo.Apple@knobbe.com>
    Cc: Apple-Masimo <apple-masimo@haynesboone.com>; WH Apple-Masimo Service List <WHApple-
    MasimoServiceList@wilmerhale.com>
    Subject: Masimo v. Apple (CDCA) - Disclosure of Patrick Mercier

    Counsel,

    Under Section 9.2 of the Protective Order, Apple discloses Patrick Mercier as an expert in the above‐
    captioned to whom Apple may disclose information designated under the PO. Attached please find
    Dr. Mercier’s current CV; signed copy of Exhibit A; a list of his prior expert witness engagements; and
    a list of his patents. Dr. Mercier is employed by the University of California, San Diego, and in the
    past five years has consulted related to non-invasive physiological monitoring technologies with
    Neurovigil; Traq; and Vaaji.

    Regards,
    Sarah

    Sarah R. Frazier | WilmerHale


                                                                                                     Exhibit K
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     she/her/hers
     60 State Street
     Boston, MA 02109 USA
     +1 617 526 6022 (t)
     +1 617 526 5000 (f)
     sarah.frazier@wilmerhale.com


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                                                                                                                      Exhibit K
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                                                                                                            Exhibit K
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